Case 2:18-mj-02959-DUTY Document 3 Filed 11/27/18 Page 1 of'2 Page |D #:173
AO 93 (Rev. 12/09) Search and Seizure Warrant (Page 2)

 

 

Return
Case No. .' Date and time warrant executed.' Copy of warrant and inventory left with.'
2:18-MJ-02959 November 8, 2018 9;00 a_m_ Eric Rodriguez & Beatris Ortiz

 

 

 

1"\’€"1`0'3’ made in the presence Of-' ATF SA Monica Lozano/ ATF SA Jason Hammond

 

Inventory of the property taken and name of any person(s) seized.'

The following items were seized from the residence of Eric Rodriguez (DOB _) located at 11754
Stockton Street, Adelanto, Califomia:

Three (3) Glock pistol magazines from inside safe in master bedroom closet

Ammunition found inside Glock pistol magazines from inside safe in master bedroom closet

One (l) Taser, Serial Number: Pl-009081 with three (3) cartridges from inside safe in master bedroom closet
One (l) Glock pistol, Model 23, Serial Number: GZF180 with one pistol magazine found inside safe in master
bedroom closet

One (l) black, JAVA bag containing Bushmaster rifle, AR type magazines, and AR15 type tool found in attic
One (l) Bushmaster Model XMlS-EZS, SN: BK5032055 with scope found inside attic

Three (3) AR-type magazines found inside JAVA bag found inside attic

One (l) AR type tools (found inside outer pocket of JAVA bag) found inside attic

One (l) firing pin found beneath the entrance to the attic crawl space

White, large garbage trash bag containing suspected Marijuana found inside attic

One (l) black tote bag containing approximately $13,500 in U.S. Currency found inside master bedroom
One (l) set of brass knuckles found on top of dining room glass cabinet

One (l) white envelope containing an undetermined amount of U.S. Currency found inside black purse
underneath dining table.

One (l) Bank of America Deposit Customer Receipt for $1,000.00 and one (l) United States Postal Service
'Money Order Customer’s Receipt for $1,000.00 inside of black purchase under dining room table

One (l) small glass jar containing suspected Marijuana found on top of living room coffee table

Two (2) clear plastic bags and one (l) black plastic bag containing suspected marijuana found inside garage
Twenty (20) boxes of suspected Marijuana pods found in dresser drawer in garage

One (l) clear jar containing suspected Marijuana found in garage

One (l) set of silver handcuffs, two (2) handcuff keys and one (l) handcuff case found on work bench in garage
One (l) “Broken Armory” jig inside white cardboard box, found on workbench in garage

One (l) AR-type lower receiver, found on workbench in garage

One (l) green ammunition can with assorted ammunition in garage

One (l) digital scale found on top drawer of plastic dresser in hallway closet

One (l) live rifle round and one (l) spent handgun round found on top drawer of plastic dresser in hallway
closet

One (l) clear jar containing suspected Marijuana found on the floor behind pile of clothing in hallway closet

Note: All electric devices that were located at the residence in possession, custody or control of Eric Rodriguez
were seized under search warrant No. 2118-MJ-02964

 

 

 

 

Case 2'18-mi-02959-DUTY Document 3 Filed 11/27/18 Paoe 2 of'2 Paoe |D #:174
Certijication (by officer present during the execution of the warrant)

 

 

1 declare under penalty of perjury that I am an officer who executed this warrant and that this inventory is correct and
was returned along with the original warrant to the designated judge through a filing with the Clerk's Ojice.

Date_- Novemberzs 2018 v 7*¢ 7 w inv

Executing ojj"i`cer ’s signature

 

.lason Hammond Special Agent-ATF

AUSA: Joseph Axelrad (213) 894-7964
Lindsey Dotson (2 l 3) 894-4443 Printed name and title

 

 

